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                 UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF CALIFORNIA




  UNITED STATES OF AMERICA,                CR 17-520 DSF
      Plaintiff,
                                           Order Re Defendant’s Motion
                      v.                   in Limine to Admit Testimony
                                           of an Expert Witness (Dkt. 485)
  Bernhard Eugen Fritsch,
       Defendant.




       Defendant Bernhard Eugen Fritsch renews his motion to
 admit the expert testimony of Taylor Ehrlich or Trevor Sturges.1
 Dkt. 485 (Mot.). The government opposes the motion and requests
 that the Court clarify the current status of the defense’s three
 proffered expert witnesses. Dkt. 489 (Opp’n).2

       1.     Taylor Ehrlich or Trevor Sturges

        Fritsch argues that, because the government has expended
 significant time at trial detailing expenses and payments to individuals
 and entities, some or all of which the government claims are not proper
 business expenses, the government has opened the door to Ehrlich’s or




 1 The defense intends to call only one of these experts at trial.   Dkt. 485-1.
 2 The Court may impose further limitations depending on the actual

 testimony offered.
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 Sturges’s testimony regarding whether certain expenses were in fact
 valid business expenses. Mot. at 2-3.3

        In opposition, the government argues that expert opinion
 regarding the proper classification of business expenses is not relevant
 to the charged conduct because “the allegation here is that [Fritsch]
 promised he would use investor funds for certain specific purposes, and
 in fact, he did not use much of the funds for those purposes.” Dkt. 489
 (Opp’n) at 10.4

        The Court concludes, consistent with its prior order, that because
 the government has “introduce[d] evidence or argument regarding the
 illegitimacy of StarClub’s expenses[,]” it is now “appropriate for the
 defense to provide testimony regarding the legitimacy of Fritsch’s use
 of those investor funds.” Dkt. 445 at 8-9. At this point in the
 proceedings, whether certain expenses were for business purposes or
 personal use is indeed a fact at issue. The Court also finds the
 testimony to be relevant considering the government’s allegation that
 Fritsch “promised he would use investor funds for certain specific
 purposes,” including: “(a) to launch what it described as vertically
 integrated and interactive social media platforms (the ‘Channels’) for
 talent partners, celebrities, and global brands; (b) for technology
 enhancements related to such channels; and (c) for working capital
 and general corporate purposes.” Opp’n at 10, 10 n.9 (quoting Dkt.
 19 (Indictment) at 4) (emphasis added).

       The Court will permit Ehrlich or Sturges to testify as to whether
 certain expenses are corporate expenses, and reiterates that their

 3 Fritsch also requests that Ehrlich and Sturges be permitted to supplement

 their opinions to include testimony based on certain Bahamian financial
 records. See Dkt. 485 at 4-5. The Court addresses this request in a separate
 order.
 4 The Court rejects the government’s contention that the expert testimony

 would be “superfluous and a waste of time[,]” Opp’n at 12, particularly
 considering the government’s decision to call multiple witnesses and devote
 significant time at trial to various StarClub expenses and payments.



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 testimony is limited to the three categories of business expenses
 identified in the expert disclosures: “(1) expenses associated with
 properties used for business purposes; (2) fees paid for StarClub’s
 management; and (3) expenses associated with travel for business.”
 Dkt. 445 at 8 (quoting Dkt. 420-3 at 1 and 420-4 at 1). And the Court
 emphasizes, consistent with its prior order, that Ehrlich and Sturges
 are not permitted to testify as to their expert opinion that “it is not
 uncommon for companies to mistakenly classify non-business expenses
 as business expenses[.]” See id. at 9.

       2.    Annabelle Burguiere

        The defense asserts that on March 25, 2025, the Court granted
 the defense request that Burguiere be permitted to offer limited
 testimony regarding StarClub’s value, including the value of StarClub’s
 intellectual property. Mot. at 1. It states that “Burguiere expects to
 offer testimony consistent with her March 1, 2025 expert notice, albeit
 condensed to more efficiently address the issues presented at trial.” Id.
 In opposition, the government requests clarification as to whether the
 Court’s ruling “was based on more than just D.G.’s testimony.” Opp’n
 at 15. Because the government contends it has not otherwise placed
 the value of StarClub’s technology at issue, it argues that Burguiere’s
 testimony “should be limited to that necessary to meet the D.G.
 testimony.” Id.

        The Court’s conclusion that StarClub’s value is now at issue and
 that Burguiere’s testimony is now relevant is based solely on D.G.’s
 March 25, 2025 testimony. Because D.G. testified that StarClub’s
 value was, at least in part, its technology, Burguiere will be permitted
 to offer limited testimony.

        Specifically, Burguiere may testify that (1) “the value of [a
 technology company’s] intellectual property is central to the company’s
 overall value”; (2) that “the primary markers of value were in
 StarClub’s intellectual property assets”; and (3) that “StarClub
 controlled intellectual property assets.” Dkt. 420-2. Burguiere may not
 testify regarding (1) the “[t]ype of intellectual property assets relating



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 to StarClub”; (2) “[s]tandard approaches to intellectual property
 valuation”; or (3) “[e]vidence of value relating to intellectual property
 assets connected to StarClub.” Id. In other words, the only relevance
 of Burguiere’s testimony is to support D.G.’s testimony that StarClub
 had value through its technology, not to provide a tutorial on
 intellectual property and patents.

       3.     Eugene Izumo

        The Court previously ordered that Izumo will be permitted to
 testify “regarding the capital investment process” to rebut anticipated
 testimony from D.G. “regarding his approach to making investments
 and the kinds of information investors generally request during the
 investment process and why.” Dkt. 445 at 4. In a subsequent order,
 the Court agreed with the government’s argument that evidence of
 reliance is relevant and ordered that Izumo will be permitted “to testify
 to reliance—or rather the lack of reliance.” Dkt. 482 at 1. Now, the
 government requests that the Court clarify the permissible scope of
 Izumo’s expert testimony. Dkt. 489 (Opp’n) at 12.

       Izumo may explain: (1) the capital raising process, including that
 the capital raising process “varies depending on many factors including
 the size and stage of development of the company”; (2) the capital
 raising process “generally involves a due diligence period during which
 the potential investor gathers and analyzes information in order to
 assess risk and opportunity and determine whether to invest”; (3) that
 whether and to what extent due diligence is expected to occur is
 “dependent on the sophistication of the potential investor”; (4) when a
 “sophisticated investor, such as a hedge fund manager, is the investor,
 then a robust due diligence would be expected”; and (5) generally what
 can be expected during the due diligence period. Dkt. 420-1 at 1-2.5


 5 In the wire fraud context, “materiality is judged in relation to the persons to

 whom the statement is addressed.” United States v. Galecki, 89 F.4th 713,
 737 (9th Cir. 2023), cert. denied, 145 S. Ct. 546 (2024) (emphasis in original).
 Because evidence has been presented at trial regarding D.G.’s level of



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 Izumo may not testify as to whether an acquisition or exit is rare for an
 early-stage social media company or whether a reverse merger is rare
 for an early-stage company in the United States. Id. at 2.



       IT IS SO ORDERED.



  Date: April 1, 2025                      ___________________________
                                           The Honorable Dale S. Fischer
                                           United States District Judge




 sophistication as an investor, including that he is a hedge fund manager,
 Izumo will be permitted to testify as to the due diligence that would be
 expected of a sophisticated investor.



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